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                                                                                                                                                                                                        Printed 1/24/2024 at 10:31 PM




                                                                               IN THE UNITED STATES DISTRICT COURT
                                                                                  FOR THE DISTRICT OF COLORADO
                                                                                       Judge Daniel D. Domenico
Case No. 20-cr-00305-DDD

Case Title: United States of America v. Tew et al.


                                                                            GOVERNMENT’S PRELIMINARY EXHIBIT LIST

          Exhibit                                                                             Brief Description                                  BEG Bates #      END Bates #                  902 Declaration
              1               INTENTIONALLY LEFT BLANK
              2               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 08.01.2018-08.31.2018   SIG_00000005     SIG_00000011     SIG_00006978
              3               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 10.01.2018-10.31.2018   SIG_00000018     SIG_00000023     SIG_00006978
              4               INTENTIONALLY LEFT BLANK
              5               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 11.01.2018-11.30.2018   SIG_00000024     SIG_00000029     SIG_00006978
              6               INTENTIONALLY LEFT BLANK
              7               Signature Bank Statement re Account x5529 National Air Cargo Holdings, statement period 12.01.2018-12.31.2018   SIG_00000030     SIG_00000035     SIG_00006978
              8               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.07.2019                                             NAC_00000303                      NAC_00000978-NAC_00000979
              9               Signature Bank ACH Transaction re $15,250 to [PM], dated 02.19.2019                                             NAC_00000304                      NAC_00000978-NAC_00000979
             10               Signature Bank ACH Transaction re $38,000 to [PM], dated 03.28.2019                                             NAC_00000309                      NAC_00000978-NAC_00000979
             11               Signature Bank ACH Transaction re $11,250 to [PM], dated 04.03.2019                                             NAC_00000310                      NAC_00000978-NAC_00000979
             12               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 07.23.2019                            NAC_00000157                      NAC_00000978-NAC_00000979
             13               Signature Bank ACH Transaction re $31,500 to SHI LLC, dated 08.06.2019                                          NAC_00000161                      NAC_00000978-NAC_00000979
             14               Signature Bank ACH Transaction re $9,500 to Global Fuel Logistics, dated 08.19.2019                             NAC_00000165                      NAC_00000978-NAC_00000979
             15               Signature Bank ACH Transaction re $28,000 to SHI LLC, dated 08.21.2019                                          NAC_00000166                      NAC_00000978-NAC_00000979
             16               Signature Bank ACH Transaction re $45,000 to Global Fuel Logistics, dated 09.03.2019                            NAC_00000169                      NAC_00000978-NAC_00000979
             17               Signature Bank ACH Transaction re $18,000 to SHI LLC, dated 09.09.2019                                          NAC_00000191                      NAC_00000978-NAC_00000979
             18               Signature Bank ACH Transaction re $33,500 to SHI LLC, dated 09.17.2019                                          NAC_00000195                      NAC_00000978-NAC_00000979
             19               Signature Bank ACH Transaction re $52,750 to SHI LLC, dated 09.25.2019                                          NAC_00000197                      NAC_00000978-NAC_00000979
             20               Signature Bank ACH Transaction re $75,000 to Global Fuel Logistics, dated 10.16.2019                            NAC_00000201                      NAC_00000978-NAC_00000979
             21               Signature Bank ACH Transaction re $43,000 to Global Fuel Logistics, dated 10.24.2019                            NAC_00000203                      NAC_00000978-NAC_00000979
             22               Signature Bank ACH Transaction re $49,750 to SHI LLC, dated 10.31.2019                                          NAC_00000205                      NAC_00000978-NAC_00000979
             23               Signature Bank ACH Transaction re $40,500 to SHI LLC, dated 11.07.2019                                          NAC_00000206                      NAC_00000978-NAC_00000979
             24               Signature Bank ACH Transaction re $43,250 to Global Fuel Logistics, dated 11.25.2019                            NAC_00000209                      NAC_00000978-NAC_00000979
             25               Signature Bank ACH Transaction re $9,550 to Global Fuel Logistics, dated 12.02.2019                             NAC_00000211                      NAC_00000978-NAC_00000979
             26               Signature Bank ACH Transaction re $24,500 to Global Fuel Logistics, dated 12.11.2019                            NAC_00000214                      NAC_00000978-NAC_00000979
             27               Signature Bank ACH Transaction re $15,200 to Global Fuel Logistics, dated 12.23.2019                            NAC_00000437                      NAC_00000978-NAC_00000979
             28               Signature Bank ACH Transaction re $33,000 to Global Fuel Logistics, dated 02.11.2020                            NAC_00000442                      NAC_00000978-NAC_00000979
             29               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 02.19.2020                            NAC_00000444                      NAC_00000978-NAC_00000979
             30               Signature Bank ACH Transaction re $36,555 to Global Fuel Logistics, dated 03.02.2020                            NAC_00000447                      NAC_00000978-NAC_00000979
             31               Signature Bank ACH Transaction re $35,000 to Global Fuel Logistics, dated 03.09.2020                            NAC_00000449                      NAC_00000978-NAC_00000979
             32               Signature Bank ACH Transaction re $22,5000 to Global Fuel Logistics, dated 03.19.2020                           NAC_00000452                      NAC_00000978-NAC_00000979
             33               Signature Bank ACH Transaction re $73,460 to Global Fuel Logistics, dated 03.31.2020                            NAC_00000402                      NAC_00000978-NAC_00000979
             34               Signature Bank ACH Transaction re $36,925 to Global Fuel Logistics, dated 04.06.2020                            NAC_00000456                      NAC_00000978-NAC_00000979
             35               Signature Bank ACH Transaction re $68,255 to Global Fuel Logistics, dated 04.15.2020                            NAC_00000170                      NAC_00000978-NAC_00000979
             36               Signature Bank ACH Transaction re $46,850 to Global Fuel Logistics, dated 04.27.2020                            NAC_00000172                      NAC_00000978-NAC_00000979
             37               Signature Bank ACH Transaction re $85,325 to Global Fuel Logistics, dated 05.05.2020                            NAC_00000459                      NAC_00000978-NAC_00000979
             38               Signature Bank ACH Transaction re $82,422 to Global Fuel Logistics, dated 05.12.2020                            NAC_00000174                      NAC_00000978-NAC_00000979
             39               Signature Bank ACH Transaction re $78,565 to Global Fuel Logistics, dated 05.20.2020                            NAC_00000176                      NAC_00000978-NAC_00000979
             40               Signature Bank ACH Transaction re $95,000 to Global Fuel Logistics, dated 07.02.2020                            NAC_00000537                      NAC_00000978-NAC_00000979
             41               INTENTIONALLY LEFT BLANK
                                                                                                                                                                                NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                NAVY_00002211-NAVY_00002212;
             42               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 withdrawal, dated 06.04.2019            NAVY_00000392                     NAVY_00002217
                                                                                                                                                                                NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                NAVY_00002211-NAVY_00002212;
             43               Navy Federal Credit Union Transaction Log Summary re Acct x8486 $15,000 withdrawal, dated 06.11.2019            NAVY_00000394                     NAVY_00002217
                                                                                                                                                                                WFB_00000144-WFB_00000146;
             44               Wells Fargo Bank withdrawal Slip re Acct x6934 $22,000 withdrawal, dated 08.28.2019                             WFB_00000183                      WFB_00001054-WFB_00001058
                                                                                                                                                                                WFB_00000144-WFB_00000146;
             45               Wells Fargo Bank withdrawal Slip re Acct x2064 $25,000 withdrawal, dated 08.29.2019                             WFB_00000155                      WFB_00001054-WFB_00001058


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Exhibit                                                                     Brief Description                              BEG Bates #     END Bates #                  902 Declaration
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
   46       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 08.17.2019-09.16.2019     NAVY_00000517    NAVY_00000526   NAVY_00002217
                                                                                                                                                         WFB_00000144-WFB_00000146;
   47       Wells Fargo Bank Wire Transaction Report re Acct x6934 $15,000, dated 09.18.2019                            WFB_00001020                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   48       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 089.26.2019                        WFB_00000192                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   49       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 09.27.2019                         WFB_00000194                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   50       Wells Fargo Bank withdrawal Slip re Acct x6934 $20,000 withdrawal, dated 10.01.2019                         WFB_00000195                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   51       Wells Fargo Bank withdrawal Slip re Acct x6934 $12,000 withdrawal, dated 10.02.2019                         WFB_00000196                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   52       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 11.30.2019                                 WFB_00000745     WFB_00000750    WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   53       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 02.20.2020                         WFB_00000164                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   54       Wells Fargo Bank withdrawal Slip re Acct x2064 $15,000 withdrawal, dated 02.21.2020                         WFB_00000165                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   55       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 02.27.2020                         WFB_00000166                     WFB_00001054-WFB_00001058
                                                                                                                                                         WFB_00000144-WFB_00000146;
   56       Wells Fargo Bank withdrawal Slip re Acct x2064 $20,000 withdrawal, dated 03.03.2020                         WFB_00000167                     WFB_00001054-WFB_00001058
57 - 100    INTENTIONALLY LEFT BLANK
  101       2016 Gross Income Summary for Michael Tew
  102       2017 Gross Income Summary for Michael Tew
  103       2018 Gross Income Summary for Michael Tew
  104       2019 Gross Income Summary for Michael Tew
  105       Internal Revenue Service 2019 Account Transcript
106 - 200   INTENTIONALLY LEFT BLANK
  201       INTENTIONALLY LEFT BLANK
  202       Guaranty Bank and Trust Statement re Account x7867 Michael Tew, statement 08.31.2018                        GUAR_00000047    GUAR_00000059   GUAR_00000001
  203       Regions Bank Statement re Account x4514 [MM], statement period 10.12.2018-11.08.2018                        REG_00000177     REG_00000181    REG_00000001
  204       INTENTIONALLY LEFT BLANK
  205       Regions Bank Statement re Account x4514 [MM], statement period 11.09.2018-12.10.2018                        REG_00000171     REG_00000175    REG_00000001
  206       INTENTIONALLY LEFT BLANK
  207       ANB Bank Statement re Account x3099 [MM], dated 12.18.2018                                                  ANB_00000048     ANB_00000052    ANB_00000002; ANB_00000035
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  208       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2019-02.16.2019   NAVY_00000020    NAVY_00000029   NAVY_00002217
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  209       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2019-03.16.2019   NAVY_00000030    NAVY_00000039   NAVY_00002217
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  210       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2019-04.16.2019   NAVY_00000040    NAVY_00000054   NAVY_00002217
  211       INTENTIONALLY LEFT BLANK
                                                                                                                                                         NAVY_00000002-NAVY_00000003;
                                                                                                                                                         NAVY_00002211-NAVY_00002212;
  212       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 07.17.2019-08.16.2019     NAVY_00000508    NAVY_00000516   NAVY_00002217
                                                                                                                                                         WFB_00000144-WFB_00000146;
  213       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 08.31.2019                                 WFB_00000724     WFB_00000731    WFB_00001054-WFB_00001058
  214       INTENTIONALLY LEFT BLANK
  215       INTENTIONALLY LEFT BLANK
  216       INTENTIONALLY LEFT BLANK
                                                                                                                                                         WFB_00000144-WFB_00000146;
  217       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 09.30.2019                                 WFB_00000732     WFB_00000738    WFB_00001054-WFB_00001058
  218       INTENTIONALLY LEFT BLANK
  219       INTENTIONALLY LEFT BLANK
                                                                                                                                                         WFB_00000144-WFB_00000146;
  220       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 10.31.2019                         WFB_00000592     WFB_00000596    WFB_00001054-WFB_00001058
  221       INTENTIONALLY LEFT BLANK

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Exhibit                                                                      Brief Description                                                                BEG Bates #     END Bates #                902 Declaration
  222       INTENTIONALLY LEFT BLANK
  223       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  224       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 11.30.2019                                                            WFB_00000597     WFB_00000602    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  225       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                                        NAVY_00000550    NAVY_00000561   NAVY_00002217
  226       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  227       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 12.17.2019-01.16.2020                                        NAVY_00001284    NAVY_00001300   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  228       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2020-02.16.2020                                        NAVY_00001301    NAVY_00001313   NAVY_00002217
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  229       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 02.29.2020                                                            WFB_00000612     WFB_00000616    WFB_00001054-WFB_00001058
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  230       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 03.31.2020                                                            WFB_00000617     WFB_00000621    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  231       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2020-03.16.2020                                        NAVY_00001314    NAVY_00001324   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  232       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2020-04.16.2020                                        NAVY_00001325    NAVY_00001340   NAVY_00002217
  233       INTENTIONALLY LEFT BLANK
  234       INTENTIONALLY LEFT BLANK
  235       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  236       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2020-05.16.2020                                        NAVY_00001341    NAVY_00001355   NAVY_00002217
  237       INTENTIONALLY LEFT BLANK
  238       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  239       Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2020-06.16.2020                                        NAVY_00001356    NAVY_00001379   NAVY_00002217
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  240       Navy Federal Credit Union Transaction Details re Access x1390, Account x3094 Global Fuel Logistics, transaction period 07.20.2020-07.08.2020   NAVY_00002205                    NAVY_00002217
  241       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  242       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2019-06.16.2019                                      NAVY_00000079    NAVY_00000101   NAVY_00002217
  243       INTENTIONALLY LEFT BLANK
  244       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  245       Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 08.31.2019                                                            WFB_00000584     WFB_00000587    WFB_00001054-WFB_00001058
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  246       Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 08.17.2019-09.16.2019                                      NAVY_00000141    NAVY_00000163   NAVY_00002217
  247       INTENTIONALLY LEFT BLANK
  248       INTENTIONALLY LEFT BLANK
  249       INTENTIONALLY LEFT BLANK
                                                                                                                                                                                            WFB_00000144-WFB_00000146;
  250       Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 10.31.2019                                                                    WFB_00000739     WFB_00000744    WFB_00001054-WFB_00001058
251 - 300   INTENTIONALLY LEFT BLANK
  301       ANB Bank Signature Card re Account x3099 [MM]                                                                                                  ANB_00000037                     ANB_00000002; ANB_00000035
  302       Guaranty Bank and Trust Signature Card re Account x7867 Michael Tew                                                                            GUAR_00000034                    GUAR_00000001
                                                                                                                                                                                            NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                            NAVY_00002211-NAVY_00002212;
  303       Navy Federal Credit Union Application re Kimberley Tew and Michael Tew                                                                         NAVY_00001959    NAVY_00001968   NAVY_00002217




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Exhibit                                                                     Brief Description                            BEG Bates #     END Bates #               902 Declaration
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 304      Navy Federal Credit Union Application re Global Fuel Logistics, dated 06.08.2020                            NAVY_00000850    NAVY_00000857   NAVY_00002217
 305      Regions Bank Signature Cards re Account x0514 [MM]                                                          REG_00000219     REG_00000220    REG_00000001
                                                                                                                                                       WFB_00000144-WFB_00000146;
 306      Wells Fargo Bank Signature Card re Account x6934 Sand Hill LLC, LLC                                         WFB_00000536     WFB_00000539    WFB_00001054-WFB_00001058
                                                                                                                                                       WFB_00000144-WFB_00000146;
 307      Wells Fargo Bank Signature Card re Account x2064 Global Fuel Logistics                                      WFB_00000532     WFB_00000535    WFB_00001054-WFB_00001058
 308      Signature Bank Signature Card re Accounts x5545 and x6150 National Air Cargo Group, Inc                     SIG_00002876     SIG_00002887    SIG_00006978
 309      Signature Bank Signature Card re Accounts x5529, x6363, x6355, and x6134 National Air Cargo Group, Inc      SIG_00002888     SIG_00002900    SIG_00006978
 310      Guaranty Bank and Trust Statement re Account x7867 Michael Tew, dated 08.31.2018                            GUAR_00000047                    GUAR_00000001
 311      BBVA Compass Signature Card re Account x0987 [5530 JD] LLC                                                  BBVA_00000404    BBVA_00000405   BBVA_00000002; BBVA_00000280
 312      Access National Bank Statement re Account x5965 [PM] Inc., statement period 12.01.2018-12.31.2018           ACNB_00000438    ACNB_00000443   ACNB_00000001
 313      Simple Signature Card for Kimberley Tew                                                                     SFT_00000173                     SFT_00000001
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 314      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 07.17.2019-08.16.2019   NAVY_00000120    NAVY_00000140   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 315      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 09.17.2019-10.16.2019   NAVY_00000164    NAVY_00000187   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 316      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 10.17.2019-11.16.2019   NAVY_00000188    NAVY_00000223   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 317      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 11.17.2019-12.16.2019   NAVY_00000224    NAVY_00000262   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 318      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 12.17.2019-01.16.2020   NAVY_00000918    NAVY_00000958   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 319      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.17.2020-02.16.2020   NAVY_00000959    NAVY_00000999   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 320      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 02.17.2020-03.16.2020   NAVY_00001000    NAVY_00001038   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 321      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 03.17.2020-04.16.2020   NAVY_00001039    NAVY_00001078   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 322      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2020-05.16.2020   NAVY_00001079    NAVY_00001121   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 323      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 05.17.2020-06.16.2020   NAVY_00001122    NAVY_00001169   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 324      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.08.2019-01.16.2019     NAVY_00000458    NAVY_00000461   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 325      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 01.17.2019-02.16.2019     NAVY_00000462    NAVY_00000466   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 326      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 02.17.2019-03.16.2019     NAVY_00000467    NAVY_00000471   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 327      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 03.17.2019-04.16.2019     NAVY_00000472    NAVY_00000478   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 328      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 04.17.2019-05.16.2019     NAVY_00000479    NAVY_00000488   NAVY_00002217
                                                                                                                                                       NAVY_00000002-NAVY_00000003;
                                                                                                                                                       NAVY_00002211-NAVY_00002212;
 329      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 05.17.2019-06.16.2019     NAVY_00000489    NAVY_00000498   NAVY_00002217

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Exhibit                                                                   Brief Description                                                    BEG Bates #      END Bates #               902 Declaration
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 330      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 06.17.2019-07.16.2019                           NAVY_00000499    NAVY_00000507    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 331      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 09.17.2019-10.16.2019                           NAVY_00000527    NAVY_00000536    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 332      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 10.17.2019-11.16.2019                           NAVY_00000537    NAVY_00000549    NAVY_00002217
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 333      Navy Federal Credit Union Statement re Access x3844 Michael Tew, statement period 11.17.2019-12.16.2019                           NAVY_00001272    NAVY_00001283    NAVY_00002217
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 334      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 09.30.2019                                               WFB_00002339     WFB_00002342     WFB_00001054-WFB_00001058
 335      American Express Corporate Card Authorization re Account x91009 National Air Cargo, Cardmember Michael Tew                        AMEX_00000181                     AMEX_00000001
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 336      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 12.31.2019                                               WFB_00002354     WFB_00002358     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 337      Wells Fargo Bank Statement re Account x2064 Global Fuel Logistics, dated 01.31.2020                                               WFB_00002359     WFB_00002362     WFB_00001054-WFB_00001058
 338      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 06.16.2018   AMEX_00000004    AMEX_00000005    AMEX_00000001
 339      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 07.16.2018   AMEX_00000006    AMEX_00000009    AMEX_00000001
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 340      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 12.31.2019                                                       WFB_00002536     WFB_00002540     WFB_00001054-WFB_00001058
 341      BBVA Compass Statement re Account x0987 5530 Jassamine Development LLC, statement period 11.01.2018-11.30.2018                    BBVA_00000444    BBVA_00000446    BBVA_00000002; BBVA_00000280
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 342      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 05.31.2019                                                       WFB_00000709     WFB_00000712     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 343      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 01.31.2020                                                       WFB_00000756     WFB_00000760     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 344      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 02.29.2020                                                       WFB_00000761     WFB_00000764     WFB_00001054-WFB_00001058
                                                                                                                                                                              WFB_00000144-WFB_00000146;
 345      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 03.31.2020                                                       WFB_00000765     WFB_00000768     WFB_00001054-WFB_00001058
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 346      Navy Federal Credit Union Statement re Access x1390 Global Fuel Logistics Inc, statement period 06.08.2020-06.30.2020             NAVY_00000858    NAVY_00000865    NAVY_00002217
 347      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 08.16.2018   AMEX__00000010   AMEX_00000013    AMEX_00000001
 348      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 09.16.2018   AMEX__00000014   AMEX_00000015    AMEX_00000001
 349      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 10.16.2018   AMEX__00000016   AMEX_00000017    AMEX_00000001
 350      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 11.16.2018   AMEX__00000018   AMEX_00000019    AMEX_00000001
 351      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 12.16.2018   AMEX__00000020   AMEX_00000021    AMEX_00000001
 352      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 01.16.2019   AMEX__00000022   AMEX_00000023    AMEX_00000001
 353      American Express Corporate Card Statement re Account x91009 National Air Cargo, Cardmember Michael Tew, closing date 02.16.2019   AMEX__00000024   AMEX_00000025    AMEX_00000001
 354      Access National Bank Signature Card re Account x5965 [PM]                                                                         ACNB_00000099    ACNB_00000100    ACNB_00000001
 355      Signature Bank ACH Transaction re $25,000 to Global Fuel Logistics, dated 10.23.2019                                              NAC_00000202                      NAC_00000978-NAC_00000979
 356      Signature Bank ACH Transaction re $21,250 to [PM] Inc., dated 12.10.2018                                                          NAC_00000142                      NAC_00000978-NAC_00000979
 357      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 08.22.2018                                                      SIG_00000142     SIG_00000143     SIG_00006978
 358      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 08.23.2018                                                      SIG_00000143     SIG_00000144     SIG_00006978
 359      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.10.2018                                                      SIG_00000149     SIG_00000150     SIG_00006978
 360      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.18.2018                                                      SIG_00000151     SIG_00000152     SIG_00006978
 361      Signature Bank ACH Transaction re $15,000 to [5530 JD] LLC, dated 09.28.2018                                                      SIG_00000155     SIG_00000156     SIG_00006978
 362      Signature Bank ACH Transaction re $30,000 to [MM], dated 12.03.2018                                                               NAC_E_00059594                    NAC_E_00204515-NAC_E_00204516
 363      Access National Bank Statement re Account x5965 [PM] Inc., statement period 03.01.2019-03.31.2019                                 ACNB_00000550    ACNB_00000555    ACNB_00000001
 364      ANB Bank Statement re Account x3099 [MM], dated 01.04.2019                                                                        ANB_00000053     ANB_00000055     ANB_00000002; ANB_00000035
 365      Signature Bank ACH Transaction re $21,000 to [PM] Inc., dated 01.23.2019                                                          NAC_00000565                      NAC_00000978-NAC_00000979
 366      Signature Bank ACH Transaction re $15,312.50 to [PM] Inc., dated 01.07.2019                                                       NAC_00000299                      NAC_00000978-NAC_00000979
 367      Signature Bank ACH Transaction re $23,350 to [PM] Inc., dated 01.10.2019                                                          NAC_00000300                      NAC_00000978-NAC_00000979
                                                                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                                                                              NAVY_00002211-NAVY_00002212;
 368      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 01.07.2019-01.16.2019                         NAVY_00000013    NAVY_00000019    NAVY_00002217
 369      Signature Bank ACH Transaction re $28,000 to [PM] Inc., dated 01.18.2019                                                          NAC_00000301                      NAC_00000978-NAC_00000979
 370      Signature Bank ACH Transaction re $31,500 to [PM] Inc., dated 03.14.2019                                                          NAC_00000306                      NAC_00000978-NAC_00000979
 371      Signature Bank ACH Transaction re $37,800 to [PM] Inc., dated 03.04.2019                                                          NAC_00000305                      NAC_00000978-NAC_00000979

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Exhibit                                                                     Brief Description                                                                        BEG Bates #     END Bates #                902 Declaration
 372      Signature Bank ACH Transaction re $20,250 to [PM] Inc., dated 03.19.2019                                                                                NAC_00000307                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $37,500 to [PM] Inc., dated 04.08.2019; $18,750 to [PM] Inc., dated 04.11.2019; and $18,750 to [PM] Inc., dated
 373      04.15.2019                                                                                                                                              NAC_00000311     NAC_00000313    NAC_00000978-NAC_00000979
 374      Signature Bank ACH Transaction re $18,750 to [PM] Inc., dated 04.17.2019                                                                                NAC_00000314                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $18,750 to [PM] Inc., dated 04.22.2019; $18,750 to [PM] Inc., dated 04.24.2019; $38,640 to [PM], dated
 375      04.29.2019; and $19,890 to [PM], dated 05.07.2019                                                                                                       NAC_00000315     NAC_00000318    NAC_00000978-NAC_00000979
 376      Signature Bank ACH Transactions re: $49,750 to [PM], dated 05.07.2019; and $40,000 to [PM] Inc., dated 05.10.2019                                       NAC_00000319     NAC_00000320    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $19,900 to [PM], dated 05.15.2019; $23,785 to [PM], dated 05.21.2019; $9,950 to [PM], dated 05.23.2019; $11,150
 377      to [PM], dated 05.28.2019; and $10,100 to [PM] Inc., dated 05.29.2019                                                                                   NAC_00000321     NAC_00000325    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 378      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 04.17.2019-05.16.2019                                               NAVY_00000055    NAVY_00000078   NAVY_00002217

 379      Signature Bank ACH Transactions re: $53,500 to [PM], dated 06.03.2019; $28,000 to [PM], dated 06.10.2019; and $9,500 to [PM], dated 06.13.2019          NAC_00000326     NAC_00000328    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $50,000 to [PM] Inc., dated 06.20.2019; $15,000 to [PM], dated 06.25.2019; and $30,000 to Sand Hill LLC, dated
 380      06.26.2019                                                                                                                                              NAC_00000329     NAC_00000331    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 381      Navy Federal Credit Union Statement re Access x3843 Kimberley Tew, statement period 06.17.2019-07.16.2019                                               NAVY_00000102    NAVY_00000119   NAVY_00002217
                                                                                                                                                                                                   WFB_00000144-WFB_00000146;
 382      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 06.30.2019                                                                             WFB_00000713     WFB_00000717    WFB_00001054-WFB_00001058
          Signature Bank ACH Transactions re: $45,000 to Global Fuel Logistics, dated 07.30.2019; $47,000 to SHI LLC, dated 08.01.2019; and $30,000 to SHI
 383      LLC, dated 08.05.2019                                                                                                                                   NAC_00000158     NAC_00000160    NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $9,200 to Sand Hill LLC, dated 06.28.2019; $13,000 to SHI LLC, dated 07.09.2019; $27,475 to SHI LLC, dated
 384      07.11.2019; and $10,000 to SHI LLC, dated 07.19.2019                                                                                                    NAC_00000332     NAC_00000335    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   WFB_00000144-WFB_00000146;
 385      Wells Fargo Bank Statement re Account x6934 Sand Hill LLC, dated 07.31.2019                                                                             WFB_00000718     WFB_00000723    WFB_00001054-WFB_00001058
 386      Signature Bank ACH Transaction re $12,900 to Global Fuel Logistics, dated 01.07.2020                                                                    NAC_00000411                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $15,500 to Global Fuel Logistics, dated 01.10.2020; $19,500 to Global Fuel Logistics, dated 01.17.2020; $9,800 to
          Global Fuel Logisitics, dated 01.22.2020; $13,500 to Global Fuel Logistics, dated 01.23.2020; $36,500 to Global Fuel Logistics, dated 01.27.2020; and
 387      $7,200 to Global Fuel Logistics, dated 01.30.2020                                                                                                       NAC_00000412     NAC_00000417    NAC_00000978-NAC_00000979
 388      Signature Bank ACH Transaction re $13,000 to Global Fuel Logistics, dated 08.09.2019                                                                    NAC_00000162                     NAC_00000978-NAC_00000979
 389      Signature Bank ACH Transaction re $24,700 to Global Fuel Logistics, dated 03.05.2020                                                                    NAC_00000448                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $97,545 to Global Fuel Logistics, dated 06.22.2020; $71,550 to Global Fuel Logistics, dated 06.24.2020; and
 390      $105,000 to Global Fuel Logisitics, dated 06.29.2020                                                                                                    NAC_00000461     NAC_00000463    NAC_00000978-NAC_00000979
 391      Signature Bank ACH Transaction re $83,526 to Global Fuel Logistics, dated 06.02.2020                                                                    NAC_00000532                     NAC_00000978-NAC_00000979
          Signature Bank ACH Transactions re: $45,220 to Global Fuel Logistics, dated 06.04.2020; $93,135 to Global Fuel Logistics, dated 06.09.2020; and
 392      $93,635 to Global Fuel Logisitics, dated 06.17.2020                                                                                                     NAC_00000533     NAC_00000535    NAC_00000978-NAC_00000979
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 393      Navy Federal Credit Union Statement re Access x1390 Global Fuel Logistics Inc, statement period 06.08.2010-06.30.2020                                   NAVY_00000858    NAVY_00000865   NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 394      Navy Federal Credit Union Check re Acct x3494 $500.00 to Sand Hill LLC, dated 10.15.19                                                                  NAVY_00000753                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 395      Navy Federal Credit Union Surveillance Photo, dated 04.14.2020                                                                                          NAVY_00001678                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 396      Navy Federal Credit Union Surveillance Photo, dated 04.03.2020                                                                                          NAVY_00001684                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 397      Navy Federal Credit Union Surveillance Photo, dated 02.04.2020                                                                                          NAVY_00001692                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 398      Navy Federal Credit Union Surveillance Photo, dated 01.13.2020                                                                                          NAVY_00001702                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 399      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 08:14:04.950 PM                                                                          NAVY_00001707                    NAVY_00002217
                                                                                                                                                                                                   NAVY_00000002-NAVY_00000003;
                                                                                                                                                                                                   NAVY_00002211-NAVY_00002212;
 400      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:53:41.888 PM                                                                          NAVY_00001711                    NAVY_00002217

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Exhibit                                                                    Brief Description      BEG Bates #   END Bates #               902 Declaration
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 401      Navy Federal Credit Union Surveillance Photo, dated 06.26.2020                       NAVY_00001717                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 402      Navy Federal Credit Union Surveillance Photo, dated 06.08.2020                       NAVY_00001718                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 403      Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 02:19:42.572 PM       NAVY_00001719                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 404      Navy Federal Credit Union Surveillance Photo, dated 03.20.2020 09:23:58.357 PM       NAVY_00001720                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 405      Navy Federal Credit Union Surveillance Photo, dated 03.06.2020                       NAVY_00001731                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 406      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020                       NAVY_00001737                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 407      Navy Federal Credit Union Surveillance Photo, dated 05.04.2020                       NAVY_00001744                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 408      Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:02:07.321 PM       NAVY_00001758                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 409      Navy Federal Credit Union Surveillance Photo, dated 04.01.2020 04:05:40.320 PM       NAVY_00001757                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 410      Navy Federal Credit Union Surveillance Photo, dated 02.12.2020                       NAVY_00001767                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 411      Navy Federal Credit Union Surveillance Photo, dated 02.25.2020                       NAVY_00001770                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 412      Navy Federal Credit Union Surveillance Photo, dated 01.23.2020                       NAVY_00001772                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 413      Navy Federal Credit Union Surveillance Photo, dated 01.29.2020                       NAVY_00001775                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 414      Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                       NAVY_00001779                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 415      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:59:59.914 PM       NAVY_00001780                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 416      Navy Federal Credit Union Surveillance Photo, dated 06.11.2020 07:53:41.888 PM       NAVY_00001786                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 417      Navy Federal Credit Union Surveillance Photo, dated 06.30.2020                       NAVY_00001787                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 418      Navy Federal Credit Union Surveillance Photo, dated 06.25.2020                       NAVY_00001789                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 419      Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:16:56.734 PM       NAVY_00001795                  NAVY_00002217
                                                                                                                              NAVY_00000002-NAVY_00000003;
                                                                                                                              NAVY_00002211-NAVY_00002212;
 420      Navy Federal Credit Union Surveillance Photo, dated 06.09.2020 05:17:57.737 PM       NAVY_00001796                  NAVY_00002217




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Exhibit                                                                     Brief Description         BEG Bates #     END Bates #               902 Declaration
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 421      Navy Federal Credit Union Surveillance Photo, dated 03.11.2020                           NAVY_00001797                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 422      Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 11:58:06.124 AM           NAVY_00001805                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 423      Navy Federal Credit Union Surveillance Photo, dated 03.18.2020 05:08:46.082 PM           NAVY_00001800                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 424      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 12:12:35.352 PM           NAVY_00001823                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 425      Navy Federal Credit Union Surveillance Photo, dated 05.12.2020 06:36:34.932 PM           NAVY_00001821                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
          Navy Federal Credit Union Surveillance Photo, dated 03.27.2020                                                            NAVY_00002211-NAVY_00002212;
 426                                                                                               NAVY_00001725                    NAVY_00002217
                                                                                                                                    NAVY_00000002-NAVY_00000003;
                                                                                                                                    NAVY_00002211-NAVY_00002212;
 427      Navy Federal Credit Union Surveillance Photo, dated 06.11.2019                           NAVY_00001778                    NAVY_00002217
 428      Signature Bank ACH Transaction re: $13,000 to Sand Hill LLC, dated 08.09.2019            NAC_00000162                     NAC_00000978-NAC_00000979
 429      Signature Bank ACH Transaction re: $35,000 to Sand Hill LLC, dated 08.14.2019            NAC_00000163                     NAC_00000978-NAC_00000979
 430      Signature Bank ACH Transaction re: $15,000 to Global Fuel Logistics, dated 08.15.2019    NAC_00000164                     NAC_00000978-NAC_00000979
 431      Signature Bank ACH Transaction re: $27,000 to Sand Hill LLC, dated 08.22.2019            NAC_00000167                     NAC_00000978-NAC_00000979
 432      Signature Bank ACH Transaction re: $45,000 to Sand Hill LLC, dated 08.26.2019            NAC_00000168                     NAC_00000978-NAC_00000979
 433      Signature Bank Wire Transaction re: $45,000 to Global Fuel Logistics, dated 08.29.2019   NAC_00000902     NAC_00000903    NAC_00000978-NAC_00000979
 434      Signature Bank ACH Transaction re: $13,000 to Global Fuel Logistics, dated 02.03.2020    NAC_00000440                     NAC_00000978-NAC_00000979
 435      Signature Bank ACH Transaction re: $23,200 to Global Fuel Logistics, dated 02.06.2020    NAC_00000441                     NAC_00000978-NAC_00000979
 436      Signature Bank ACH Transaction re: $32,500 to Global Fuel Logistics, dated 02.13.2020    NAC_00000443                     NAC_00000978-NAC_00000979
 437      Signature Bank ACH Transaction re: $55,000 to Global Fuel Logistics, dated 02.18.2020    NAC_00000445                     NAC_00000978-NAC_00000979
 438      Signature Bank ACH Transaction re: $40,000 to Global Fuel Logistics, dated 02.26.2020    NAC_00000446                     NAC_00000978-NAC_00000979
 439      Signature Bank ACH Transaction re: $74,955 to Global Fuel Logistics, dated 03.11.2020    NAC_00000450                     NAC_00000978-NAC_00000979
 440      Signature Bank ACH Transaction re: $17,200 to Global Fuel Logistics, dated 03.17.2020    NAC_00000451                     NAC_00000978-NAC_00000979
 441      Signature Bank ACH Transaction re: $32,245 to Global Fuel Logistics, dated 03.24.2020    NAC_00000453                     NAC_00000978-NAC_00000979
 442      Signature Bank ACH Transaction re: $32,300 to Global Fuel Logistics, dated 03.26.2020    NAC_00000454                     NAC_00000978-NAC_00000979
 443      Signature Bank ACH Transaction re: $41,225 to Global Fuel Logistics, dated 04.02.2020    NAC_00000455                     NAC_00000978-NAC_00000979
 444      Signature Bank ACH Transaction re: $37,353 to Global Fuel Logistics, dated 04.08.2020    NAC_00000457                     NAC_00000978-NAC_00000979
 445      Signature Bank ACH Transaction re: $31,355 to Global Fuel Logistics, dated 04.13.2020    NAC_00000458                     NAC_00000978-NAC_00000979
 446      Signature Bank ACH Transaction re: $56,530 to Global Fuel Logistics, dated 04.21.2020    NAC_00000171                     NAC_00000978-NAC_00000979
 447      Signature Bank ACH Transaction re: $36,240 to Global Fuel Logistics, dated 04.29.2020    NAC_00000173                     NAC_00000978-NAC_00000979
 448      Signature Bank ACH Transaction re: $77,460 to Global Fuel Logistics, dated 05.18.2020    NAC_00000175                     NAC_00000978-NAC_00000979
 449      Signature Bank ACH Transaction re: $85,500 to Global Fuel Logistics, dated 05.27.2020    NAC_00000177                     NAC_00000978-NAC_00000979
 450      Signature Bank ACH Transaction re $20,250.00 to [PM] Inc., dated 03.18.2019              NAC_00000308                     NAC_00000978-NAC_00000979
 451      Signature Bank ACH Transaction re $60,000 to Global Fuel Logistics, dated 09.10.2019     NAC_00000192                     NAC_00000978-NAC_00000979
 452      Signature Bank ACH Transaction re $51,500 to Sand Hill LLC, dated 09.12.2019             NAC_00000193                     NAC_00000978-NAC_00000979
 453      Signature Bank ACH Transaction re $11,950 to Global Fuel Logistics, dated 09.16.2019     NAC_00000194                     NAC_00000978-NAC_00000979
 454      Signature Bank ACH Transaction re $41,500 to Sand Hill LLC, dated 09.19.2019             NAC_00000196                     NAC_00000978-NAC_00000979
 455      Signature Bank ACH Transaction re $60,000 to Sand Hill LLC, dated 09.26.2019             NAC_00000198                     NAC_00000978-NAC_00000979
 456      Signature Bank ACH Transaction re $75,000 to Sand Hill LLC, dated 09.30.2019             NAC_00000199                     NAC_00000978-NAC_00000979
 457      Signature Bank ACH Transaction re $35,000 to Sand Hill LLC, dated 10.10.2019             NAC_00000200                     NAC_00000978-NAC_00000979
 458      Signature Bank ACH Transaction re $23,750 to Global Fuel Logistics, dated 10.30.2019     NAC_00000204                     NAC_00000978-NAC_00000979
 459      Signature Bank ACH Transaction re $25,000 to Sand Hill LLC, dated 11.18.2019             NAC_00000207                     NAC_00000978-NAC_00000979
 460      Signature Bank ACH Transaction re $17,900 to Global Fuel Logistics, dated 11.21.2019     NAC_00000208                     NAC_00000978-NAC_00000979
 461      Signature Bank ACH Transaction re $42,000 to Global Fuel Logistics, dated 11.27.2019     NAC_00000210                     NAC_00000978-NAC_00000979
 462      Signature Bank ACH Transaction re $26,500 to Global Fuel Logistics, dated 12.05.2019     NAC_00000212                     NAC_00000978-NAC_00000979
 463      Signature Bank ACH Transaction re $51,150 to Global Fuel Logistics, dated 12.09.2019     NAC_00000213                     NAC_00000978-NAC_00000979
 464      Signature Bank ACH Transaction re $7,800 to Global Fuel Logistics, dated 12.16.2019      NAC_00000215                     NAC_00000978-NAC_00000979
 465      Signature Bank ACH Transaction re $33,300 to Global Fuel Logistics, dated 12.17.2019     NAC_00000216                     NAC_00000978-NAC_00000979
 466      Signature Bank ACH Transaction re $14,350 to Global Fuel Logistics, dated 12.19.2019     NAC_00000217                     NAC_00000978-NAC_00000979
 467      Signature Bank ACH Transaction re $55,500 to Global Fuel Logistics, dated 12.26.2019     NAC_00000438                     NAC_00000978-NAC_00000979
 468      Signature Bank ACH Transaction re $77,500 to Global Fuel Logistics, dated 12.30.2019     NAC_00000439                     NAC_00000978-NAC_00000979

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Exhibit                                                                      Brief Description                                                                     BEG Bates #      END Bates #                  902 Declaration
                                                                                                                                                                                                  WFB_00000144-WFB_00000146;
  469       Wells Fargo Bank Wire Transaction Report re Acct x6934 $20,611.01, dated 11.01.2019                                                                 WFB_00001033                      WFB_00001054-WFB_00001058
  470       INTENTIONALLY LEFT BLANK
  471       INTENTIONALLY LEFT BLANK
  472       INTENTIONALLY LEFT BLANK
  473       American Express Application re Michael Tew                                                                                                         AMEX_00000182                     AMEX_00000001
  474       American Express Application re Kimberley Tew                                                                                                       AMEX_00000183                     AMEX_00000001
475 - 499   INTENTIONALLY LEFT BLANK
  500       Kraken Account Opening and Verification Documents for Kimberley Tew                                                                                 KRKN_00000008    KRKN_00000001    KRKN_00000001
  501       Kraken Account Opening and Verification Documents for Michael Tew                                                                                   KRKN_00000020    KRKN_00000001    KRKN_00000001
                                                                                                                                                                COIN_00000027;                    COIN_00000076; COIN_00000077;
  502       Coinbase profile image records for Michael Tew                                                                                                      COIN_00000032                     COIN_00000078
                                                                                                                                                                                                  COIN_00000076; COIN_00000077;
  503       Coinbase profile image records for Kimberley Tew                                                                                                    COIN_00000028    COIN_00000029    COIN_00000078
  504       Google Pay Customer Profile re kley@me.com                                                                                                          GPAY_00000009    GPAY_00000012    GPAY_00000097-GPAY_00000106
  505       McDonald Audi Purchase Documents re 2016 Audi A4 VIN x2447, dated 10.03.2019                                                                        AUDI_00000001    AUDI_00000037    AUDI_00000042
  506       McDonald Audi Wire Transfer Records re $20,611.01 Incoming Money Transfer, dated 11.01.2019                                                         AUDI_00000038    AUDI_00000039    AUDI_00000042
  507       Wynn Las Vegas Jackpot Report between 07.04.2019 and 11.29.2019                                                                                     WYNN_00000174                     WYNN_00000002
  508       Wynn Las Vegas 2019 Loss Summary, as of 07.16.2020                                                                                                  WYNN_00000179                     WYNN_00000002
  509       Wynn Las Vegas Reservation Confirmation #23362412 for Kimberley Tew, 10.30.2019 arrival & 11.02.19 departure                                        WYNN_00000689                     WYNN_00000002
  510       Wynn Las Vegas Reservation/Stay History for Kimberley Tew                                                                                           WYNN_00000730    WYNN_00000736    WYNN_00000002
  511       Wynn Las Vegas Reservation/Stay History re: Kimberley Ann Tew, arrival 09.01.2019 & departure 09.05.2019                                            WYNN_00000624                     WYNN_00000002
                                                                                                                                                                ORD_00019768;
  512       GoDaddy Domain Information re Domain Name "Global Fuel.Co"                                                                                          ORD_00019821                      ORD_00019742
                                                                                                                                                                ORD_00019747;
  513       GoDaddy Domain Information re Domain Name "Sandhillrp.com"                                                                                          ORD_00019823     ORD_00019827     ORD_00019742
  514       AT&T Subscriber Information re phone number x1312, Michael Tew                                                                                      ORD_00019224                      ORD_00020003-ORD_00020004
  515       AT&T Subscriber Information re phone number x7473, Michael Tew                                                                                      ORD_00019225                      ORD_00020003-ORD_00020004
  516       AT&T Subscriber Information re phone number x2046, Kimberley Vertanen                                                                               ORD_00019223                      ORD_00020003-ORD_00020004
  517       AT&T Text Message History re phone numbers x2046 & x1312                                                                                            ORD_00019204                      ORD_00020003-ORD_00020004
                                                                                                                                                                ORD_00019224;
  518       AT&T Records re phone number x1312                                                                                                                  ORD_00019331     ORD_00019544     ORD_00020003-ORD_00020004
  519       Spreadsheet of Verizon Call Records re phone number x1709                                                                                           ORD_00019950                      ORD_00019935

  520       Google Subscriber Information re [5530 JD] Email Recovery (chrisrncn@gmail.com)                                                                     ORD_00015084                      ORD_00017711; ORD_00019955-ORD_00020002

  521       Google Subscriber Information re [PM] email recovery (political.media.wdc@gmail.com)                                                                ORD_00017716                      ORD_00017711; ORD_00019955-ORD_00020003

  522       Google Voice Record re Google Voice Number x0152                                                                                                    ORD_00015068                      ORD_00017711; ORD_00019955-ORD_00020004

  523       Google Subscriber Information re vtleycap@gmail.com (recovery email kley@me.com)                                                                    ORD_00019129                      ORD_00017711; ORD_00019955-ORD_00020005

  524       Google subscriber information re meyersconsultinggroupinc@gmail.com                                                                                                                   ORD_00017711; ORD_00019955-ORD_00020006
  525       IRS Form W-9 re [MM], dated 10.11.2018                                                                                                              NAC_00000393     NAC_00000398     NAC_00000978-NAC_00000979
  526       Colorado Secretary of State Statement of Foreign Entity Authority re: Sand Hill LLC, filed 11.12.2018                                               VCORP_00000062   VCORP_00000064   VCORP_00000001
  527       Plea agreement as to Jonathan Yioulos, dated 11.18.2021
  528       Audio of 7/15/2020 Proffer with Michael Tew                                                                                                         INV_00004475
  529       Audio of 7/28/2020 Proffer with Michael Tew                                                                                                         INV_00004476     INV_00004479
  530       Audio of 10/23/2020 Proffer with Kimberley Tew                                                                                                      INV_00004486     INV_00004488
  531       07.07.2020 Photograph of Yioulos Phone Contact ‘JB’                                                                                                 INV_00005154
  532       Email re "RE: AMEX" on 07.16.2018                                                                                                                   NAC_E_00108968   NAC_E_00108969   NAC_E_00204515-NAC_E_00204516
  533       Email re "FW: Scanned Document" on 07.31.2018                                                                                                       NAC_E_00113905   NAC_E_00113906   NAC_E_00204515-NAC_E_00204516
  534       Email re "RE: Wire - Michael Tew" on 08.02.2018                                                                                                     NAC_E_00055400   NAC_E_00055401   NAC_E_00204515-NAC_E_00204516
  535       Email re "FW: MT AGMT" on 09.14.2018                                                                                                                NAC_E_00069611   NAC_E_00069612   NAC_E_00204515-NAC_E_00204516
  536       Email re "FW: National Air Cargo Holdings Correspondence" on 09.17.2018                                                                             NAC_E_00194887   NAC_E_00194888   NAC_E_00204515-NAC_E_00204516
  537       Invoice #79487 re: [MCG] Inc for $10,000.00, dated 10.30.2018                                                                                       NAC_00000546                      NAC_00000978-NAC_00000979
  538       Email re "RE: Michael Tew - AMEX" on 01.17.2019                                                                                                     NAC_E_00170325                    NAC_E_00204515-NAC_E_00204516
            Email re "Invoices for June 2020" on 06.30.2020 (Global Fuel Logistics Invoice #10222 for $17,955.50; & Aero Maintenenace Resources Invoice #9611
  539       for $79,292)                                                                                                                                        NAC_E_106466     NAC_E_00106468   NAC_E_00204515-NAC_E_00204516
  540       Invoice #79466 re: [MCG] Inc for $30,000.00, dated 10.12.2018                                                                                       NAC_00000545                      NAC_00000978-NAC_00000979
  541       Invoice #79488 re: [MCG] Inc for $30,000.00, dated 11.30.2018                                                                                       NAC_00000547                      NAC_00000978-NAC_00000979
  542       Invoice #79489 re: [MCG] Inc for $30,000.00, dated 11.30.2018                                                                                       NAC_00000548                      NAC_00000978-NAC_00000979

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Exhibit                                                                         Brief Description                                                             BEG Bates #     END Bates #                 902 Declaration
  543       Invoice #79490 re: [MCG] Inc for $25,000.00, dated 12.11.2018                                                                                  NAC_00000549                      NAC_00000978-NAC_00000979
  544       Colorado Secretary of State Statement of Foreign Entity Authority re: Global Fuel Logistics Inc., filed 07.11.2019                             VCORP_00000003   VCORP_00000005   VCORP_00000001
  545       IRS assignment of Emploment Identification Number re Global Fuel Logistics, dated 07.09.2019                                                   VCORP_00000015   VCORP_00000017   VCORP_00000001
  546       Wyoming Secretary of State Articles of Incorporation re Global Fuel Logistics Inc, filed 07.09.2019                                            VCORP_00000018   VCORP_00000021   VCORP_00000001
  547       IRS Form SS-4 Application for Employer Identification Number re Sand Hill LLC                                                                  VCORP_00000070   VCORP_00000071   VCORP_00000001
  548       State of New York Department of State Certification of Articles of Organization, dated 11.09.2018                                              VCORP_00000072                    VCORP_00000001
  549       Google Pay Customer Profile re kleytew@gmail.com                                                                                               GPAY_00000017    GPAY_00000020    GPAY_00000097-GPAY_00000106
  550       IRS Form 1099 re SandHill Research Partners, tax years 2015 through 2018                                                                       NAC_00000898     NAC_00000899     NAC_00000978-NAC_00000979
  551       Audio of 07.29.2020 meeting with Michael Tew at Yeti store                                                                                     INV_00004480
  552       Email re "RE: MT AGMT" on 09.14.2018                                                                                                           NAC_E_00161044                    NAC_E_00204515-NAC_E_00204516

  553       Email headers re email received by chrisrncn@gmail.com on 08.22.2018                                                                           ORD_00015085     ORD_00015089     ORD_00017711; ORD_00019955-ORD_00020006
  554       Spreadsheet of Apple account information re kley@me.com                                                                                        ORD_00002913                      ORD_00015053-ORD_00015054
555 - 599   INTENTIONALLY LEFT BLANK
  600       James Log (ECF #341-1), filed 12.05.2023
  601       Email re "ACH Invoice" on 08.07.2018 ([HS] Invoice dated 08.07.2018 for $15,000)                                                                                                 NAC_E_00204515-NAC_E_00204516
  602       Text messages between M.T. and J.Y. 08.07.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  603       Email re "re ACH Invoice" on 08.08.2018 ([HS] Invoice dated 08.08.2018 for $15,000)                                                                                              NAC_E_00204515-NAC_E_00204516
  604       Text messages between M.T. and J.Y. 08.08.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  605       Text messages between M.T. and J.Y. 08.09.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  606       Text messages between M.T. and J.Y. 08.13.2018                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
  607       Email re "Invoices: Michael Tew ACH August 15" on 08.14.2018 (Sand Hill Invoice #49 for $10,000 & [HS] Invoice dated 08.14.2018 for $20,000)                                     NAC_E_00204515-NAC_E_00204516
  608       Text message between J.Y. and M.T on 08.10.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  609       Text message between J.Y. and M.T on 08.18.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  610       Text message between J.Y. and M.T on 08.21.2018                                                                                                                                  SW_FIL_00342321-SW_FIL_00342322
  611       Email re "Invoice (CORRECTED)" on 08.22.2018 ([5530 JD] Invoice #7321116 for $15,000)                                                                                            NAC_E_00204515-NAC_E_00204516
  612       Email re "Wire Confirmation" on 08.22.2018                                                                                                                                       NAC_E_00204515-NAC_E_00204516
  613       Text messages between J.Y. and M.T on 08.22.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  614       Text messages between J.Y. and M.T on 08.23.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  615       Email re "re Invoice (CORRECTED)" on 08.23.2018                                                                                                                                  NAC_E_00204515-NAC_E_00204516
  616       Emails re "re Is there an invocie for this wire out of Holdings?" on 08.24.2018                                                                                                  NAC_E_00204515-NAC_E_00204516
  617       Text messages between M.T. and JY. on 08.28.2018                                                                                                                                 SW_FIL_00342321-SW_FIL_00342322
  618       Email re "Confirms" on 08.30.2018                                                                                                                                                NAC_E_00204515-NAC_E_00204516
  619       Text messages between J.Y. and K.T. on 08.30.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  620       Text messages between J.Y. and M.T. on 08.30.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  621       Text messages between M.T. and J.Y. on 08.31.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  622       Text messages between M.T. and J.Y. on 09.01.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  623       INTENTIONALLY LEFT BLANK
  624       Emails re "RE: Is there an invoice?" on 09.07.2018                                                                                                                               NAC_E_00204515-NAC_E_00204516
  625       Text messages between M.T. and J.Y. on 09.07.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  626       Email re "FW: ACH INVOICE" on 09.07.2018 at 03:13pm                                                                                                                              NAC_E_00204515-NAC_E_00204516
  627       Email re "FW: ACH INVOICE" on 09.07.2018 at 03:14pm                                                                                                                              NAC_E_00204515-NAC_E_00204516
  628       Text messages from J.Y. to K.T. on 09.10.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  629       Email (NO SUBJECT) on 09.10.2018 ([5530 JD] Invoice #7321118 for $15,000 & Invoice #7321117 for $15,000)                                                                         NAC_E_00204515-NAC_E_00204516
  630       Emails re "RE: [HS] Invoices" on 09.10.2018                                                                                                                                      NAC_E_00204515-NAC_E_00204516
  631       Emails re "RE:" (NO SUBJECT) on 09.10.2018                                                                                                                                       NAC_E_00204515-NAC_E_00204516
  632       Email re "Cancel ACH" on 09.10.2018                                                                                                                                              NAC_E_00204515-NAC_E_00204516
  633       Text messages between M.T. and J.Y. on 09.12.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  634       Text messages from J.Y. to K.T. on 09.12.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  635       Text messages from J.Y. to K.T. on 09.13.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  636       Text messages between M.T. and J.Y. on 09.13.2018                                                                                                                                SW_FIL_00342321-SW_FIL_00342322
  637       INTENTIONALLY LEFT BLANK
  638       Email re "Invoice" on 09.18.2018 ([5530 JD] Invoice #7321119 for $15,000)                                                                                                        NAC_E_00204515-NAC_E_00204516
  639       Text messages from J.Y. to K.T. on 09.18.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  640       Text messages from J.Y. to K.T. on 09.28.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  641       INTENTIONALLY LEFT BLANK
  642       Email re "Consulting Invoice" on 09.28.2018 ([5530 JD] Invoice #7321120 for $15,000)                                                                                             NAC_E_00204515-NAC_E_00204516
  643       Email re "RE: Invoices needed - Holdings" on 09.28.2018                                                                                                                          NAC_E_00204515-NAC_E_00204516
  644       Email re "Jess" on 10.01.2018                                                                                                                                                    NAC_E_00204515-NAC_E_00204516
  645       Text message from J.Y. to M.T. on 10.09.2018                                                                                                                                     SW_FIL_00342321-SW_FIL_00342322
  646       Text messages from J.Y. to K.T. on 10.25.2018                                                                                                                                    SW_FIL_00342321-SW_FIL_00342322
  647       Email re "Fwd: Invoice" on 10.25.2018                                                                                                                                            NAC_E_00204515-NAC_E_00204516

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 648      Text messages between J.Y. to M.T. on 10.25.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 649      Email re "Oct Invoice" on 10.30.2018                                                                                                           NAC_E_00204515-NAC_E_00204516
 650      Text messages between J.Y. to M.T. on 10.30.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 651      Text messages from J.Y. to K.T. on 10.30.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 652      Text messages between J.Y. to M.T. on 10.31.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 653      Email re "is there an invoice for this payment out of holdings?" on 10.31.2018                                                                 NAC_E_00204515-NAC_E_00204516
 654      Email re "RE: Michael Tew: Sand Hill, LLC" on 11.05.2018 at 2:13pm                                                                             NAC_E_00204515-NAC_E_00204516
 655      Email re "RE: Michael Tew: Sand Hill, LLC" on 11.05.2018, time unknown                                                                         NAC_E_00204515-NAC_E_00204516
 656      Text messages sent from Kley (M.T.) to M.M. on 11.06.2018                                                                                      SW_FIL_00342321-SW_FIL_00342322
 657      Email re "[MCG] LLC" on 11.06.2018                                                                                                             NAC_E_00204515-NAC_E_00204516
 658      Email re "RE: Invoice" on 11.09.2018                                                                                                           NAC_E_00204515-NAC_E_00204516
 659      Text messages between J.Y. to M.T. on 11.09.2018                                                                                               SW_FIL_00342321-SW_FIL_00342322
 660      INTENTIONALLY LEFT BLANK
 661      Email re "RE: Entity: Sand Hill, LLC - New York" on 11.12.2018                                                                                 NAC_E_00204515-NAC_E_00204516
 662      Text messages between J.Y. and M.T. on 11.13.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 663      Text messages between J.Y. and M.T. on 11.15.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 664      Text messages between J.Y. and M.T. on 11.16.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 665      Text messages between J.Y. and M.T. on 11.19.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 666      Email re "RE: Invoice" on 11.19.2018 at 8:55pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 667      Email re "RE: Invoice" on 11.19.2018 at 9:04pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 668      Text messages between J.Y. and M.T. on 11.20.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 669      Text messages between Kley (M.T.) and M.M. on 11.20.2018                                                                                       SW_FIL_00342321-SW_FIL_00342322
 670      Text messages between J.Y. and M.T. on 11.21.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 671      Text messages between J.Y. and M.T. on 11.23.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 672      Text messages between J.Y. and M.T. on 11.25.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 673      Text messages between J.Y. and M.T. on 11.26.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 674      Email re "RE: Invoice" on 11.26.2018 at 7:22pm ([5530 JD] Invoice #7321122 for $30,000)                                                        NAC_E_00204515-NAC_E_00204516
 675      Email re "RE: Invoice" on 11.26.2018 at 4:22pm                                                                                                 NAC_E_00204515-NAC_E_00204516
 676      Text messages between J.Y. and M.T. on 11.27.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 677      Email re "RE: Cash Sheet - Holdings - what's this?" on 11.28.2018                                                                              NAC_E_00204515-NAC_E_00204516
 678      Text message from J.Y. to M.T. on 11.30.2018                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 679      Text messages from J.Y. to K.T. on 12.01.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 680      Email re "RE: Final Invoice" on 12.03.2018 ([MCG] Invoice #79489 for $30,000)                                                                  NAC_E_00204515-NAC_E_00204516
 681      Text messages between J.Y. and M.T. on 12.04.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 682      Text messages from J.Y. to K.T. on 12.04.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 683      Email re "Missing Meyers invoices" on 12.04.2018 ([MCG] Invoice #79489 for $30,000 & Invoice #79488 for $30,000)                               NAC_E_00204515-NAC_E_00204516
 684      Text messages between J.Y. and M.T. on 12.06.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 685      Text messages from J.Y. to K.T. on 12.06.2018                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 686      Email re "Fwd: [PM], Inc. - Invoice for Services" on 12.07.2018 ([PM] Invoice #6516 for $21,250)                                               NAC_E_00204515-NAC_E_00204516
 687      Text messages between J.Y. and M.T. on 12.07.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 688      Email re: "RE: [PM], Inc. - Invoice for Services" on 12.07.2018                                                                                NAC_E_00204515-NAC_E_00204516
 689      Text messages between J.Y. and M.T. on 12.06.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 690      Text messages between J.Y. and M.T. on 12.10.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 691      Email re "New Vendor - Paid on Friday" on 12.10.2018                                                                                           NAC_E_00204515-NAC_E_00204516
 692      Email re "Re: Final Invoice" on 12.11.2018 ([MCG] Invoice #79490 for $25,000)                                                                  NAC_E_00204515-NAC_E_00204516
 693      Text messages between J.Y. and M.T. on 12.11.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 694      Email re "Meyers Inv" on 12.14.2018                                                                                                            NAC_E_00204515-NAC_E_00204516
 695      Text messages between J.Y. and M.T. on 12.18.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 696      Text messages between Kley (M.T.) and M.M. on 12.18.2018                                                                                       SW_FIL_00342321-SW_FIL_00342322
 697      Text messages between J.Y. and M.T. on 12.19.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 698      Text messages between J.Y. and M.T. on 12.20.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 699      Email re "FW: INVOICES: MICHAEL TEW ACH AUGUST 15" on 12.20.2018                                                                               NAC_E_00204515-NAC_E_00204516
 700      Email re "FW: [PM], Inc. - Invoice for Services" on 12.20.2018 ([PM] Invoice #6517 for $15,125)                                                NAC_E_00204515-NAC_E_00204516
 701      Text messages between J.Y. and M.T. on 12.21.2018                                                                                              SW_FIL_00342321-SW_FIL_00342322
 702      Text messages between J.Y. and M.T. on 01.07.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 703      Email re "Invoice from [PM], Inc." on 01.07.2019 ([PM] Invoice #6540 for $15,312.50)                                                           NAC_E_00204515-NAC_E_00204516
 704      Text messages between J.Y. and M.T. on 01.09.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 705      Text messages between J.Y. and M.T. on 01.10.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 706      Email re "Invoice from [PM], Inc." on 01.10.2019 ([PM] Invoice #6670 for $25,350)                                                              NAC_E_00204515-NAC_E_00204516
 707      Text messages between J.Y. and M.T. on 01.17.2019                                                                                              SW_FIL_00342321-SW_FIL_00342322
 708      Text messages from J.Y. to K.T. on 01.17.2019                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 709      Email re "FW: Invoice from [PM], Inc." on 01.17.2019                                                                                           NAC_E_00204515-NAC_E_00204516

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 710      Text messages between J.Y. and M.T. on 01.18.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 711      Email re "Invoice from [PM], Inc." on 01.18.2019 ([PM] Invoice #6712 for $27,562.50)                                                          NAC_E_00204515-NAC_E_00204516
 712      Text messages between J.Y. and M.T. on 01.23.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 713      Email re "Invoice from [PM], Inc." on 01.23.2019 ([PM] Invoice #6714 for $21,000 & Invoice #6712 for $28,000)                                 NAC_E_00204515-NAC_E_00204516
 714      Email re "FW: Invoice from [PM], Inc." on 01.25.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 715      Text messages from J.Y. to K.T. on 02.07.2019                                                                                                 SW_FIL_00342321-SW_FIL_00342322
 716      Email re "Invoice from [PM], Inc." on 02.07.2019 ([PM] Invoice #6775 for $15,250)                                                             NAC_E_00204515-NAC_E_00204516
 717      Text messages between J.Y. and M.T. on 02.19.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 718      Text messages from J.Y. to K.T. on 02.19.2019                                                                                                 SW_FIL_00342321-SW_FIL_00342322
 719      Email re "Invoice from [PM], Inc." on 02.19.2019 ([PM] Invoice #6786 for $15,250)                                                             NAC_E_00204515-NAC_E_00204516
 720      Email re "FW: Invoice from [PM], Inc." on 02.21.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 721      Text messages between J.Y. and M.T. on 02.24.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 722      Text messages between J.Y. and M.T. on 03.01.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 723      Email re "Invoice from [PM], Inc." on 03.04.2019 ([PM] Invoice #6804 for $37,800)                                                             NAC_E_00204515-NAC_E_00204516
 724      Text messages between Kley (M.T.) and K.T. on 03.06.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 725      Email re "FW: Invoice from [PM], Inc." on 03.07.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 726      Text messages between Kley (M.T.) and K.T. on 03.14.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 727      Email re "Invoice from [PM], Inc." on 03.14.2019 ([PM] Invoice #6881 for $31,500)                                                             NAC_E_00204515-NAC_E_00204516
 728      Email re "FW: Invoice from [PM], Inc." on 03.15.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 729      Text messages between Kley (M.T.) and K.T. on 03.17.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 730      Text messages between Kley (M.T.) and K.T. on 03.18.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 731      Text messages between J.Y. and M.T. on 03.18.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 732      Email re "Invoice from [PM], Inc." on 03.18.2019 ([PM] Invoice #6910 for $20,250)                                                             NAC_E_00204515-NAC_E_00204516
 733      Email re "FW: Invoice from [PM], Inc." on 03.19.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 734      Text messages between J.Y. and M.T. on 03.19.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 735      Text messages between Kley (M.T.) and K.T. on 03.19.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 736      Text messages between M.T. and K.T. on 03.28.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 737      Email re "Invoice from [PM], Inc." on 03.28.2019 ([PM] Invoice #6976 for $38,000)                                                             NAC_E_00204515-NAC_E_00204516
 738      INTENTIONALLY LEFT BLANK
 739      Text messages between Kley (M.T.) and K.T. on 03.30.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 740      Text messages between Kley (M.T.) and K.T. on 04.03.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 741      Text messages between J.Y. and M.T. on 04.03.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 742      Email re "Invoice from [PM], Inc." on 04.03.2019 ([PM] Invoice #6910 for $30,150)                                                             NAC_E_00204515-NAC_E_00204516
 743      Email re "FW: Invoice from [PM], Inc." on 04.04.2019 ([PM] Invoice #7004 for 11,250)                                                          NAC_E_00204515-NAC_E_00204516
 744      INTENTIONALLY LEFT BLANK
 745      Text messages between J.Y. and M.T. on 04.07.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 746      Text messages between Kley (M.T.) and K.T. on 04.07.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 747      Text messages between J.Y. and M.T. on 04.08.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 748      Email re "Invoice from [PM], Inc." on 04.08.2019 ([PM] Invoice #7101 for $37,500)                                                             NAC_E_00204515-NAC_E_00204516
 749      Email re "re Invoice from [PM], Inc." on 04.09.2019                                                                                           NAC_E_00204515-NAC_E_00204516
 750      INTENTIONALLY LEFT BLANK
 751      Text messages between M.T. and K.T. on 04.11.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 752      Text messages from Kley (M.T.) to M.M. on 04.12.2019                                                                                          SW_FIL_00342321-SW_FIL_00342322
 753      Text messages between M.T. and K.T. on 04.12.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 754      Text messages between J.Y. and M.T. on 04.13.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 755      Text messages between M.T. and K.T. on 04.16.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 756      Text messages between M.T. and K.T. on 04.17.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 757      INTENTIONALLY LEFT BLANK
 758      Text messages between M.T. and Kley (K.T.) on 04.21.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 759      Text messages between M.T. and K.T. on 04.22.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 760      Text messages between Kley (M.T.) and K.T. on 04.23.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 761      Text message from J.Y. to M.T. on 04.24.2019                                                                                                  SW_FIL_00342321-SW_FIL_00342322
 762      Text messages between M.T. and K.T. on 04.24.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 763      INTENTIONALLY LEFT BLANK
 764      Email re "Invoice from [PM], Inc." on 04.29.2019 ([PM] Invoice #7156 for $75,000 and Invoice #7158 for $39,780)                               NAC_E_00204515-NAC_E_00204516
 765      Email re "FW: Invoice from [PM]. Inc." on 04.29.2019                                                                                          NAC_E_00204515-NAC_E_00204516
 766      Text messages between Kley (M.T.) and K.T. on 04.30.2019                                                                                      SW_FIL_00342321-SW_FIL_00342322
 767      Text messages between M.T. and K.T. on 05.01.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 768      Text messages between M.T. and K.T. on 05.02.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 769      Text messages between M.T. and K.T. on 05.06.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 770      Text messages between J.Y. and M.T. on 05.07.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322
 771      Text messages between M.T. and K.T. on 05.08.2019                                                                                             SW_FIL_00342321-SW_FIL_00342322

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 772      Text messages between Kley (M.T.) and K.T. on 05.09.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 773      Text messages between Kley (M.T.) and K.T. on 05.10.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 774      Text messages between J.Y. and M.T. on 05.10.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 775      Text messages between J.Y. and M.T. on 05.15.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 776      Text messages between M.T. and K.T. on 05.20.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 777      Text messages between M.T. and Kley (K.T.) on 05.21.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 778      Text messages between M.T. and Kley (K.T.) on 05.22.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 779      Text messages between M.T. and K.T. on 05.27.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 780      Text messages between M.T. and K.T. on 05.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 781      Text messages between J.Y. and M.T. on 06.03.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 782      Text messages between Kley (M.T.) and K.T. on 06.03.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 783      Email re "Journal Entry Testing" on 06.04.2019                                                                                                                                  NAC_E_00204515-NAC_E_00204516
 784      Text messages between M.T. and K.T. on 06.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 785      Text messages between M.T. and K.T. on 06.10.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 786      Text messages between J.Y. and M.T. on 06.12.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 787      Text messages between Kley (M.T.) and K.T. on 06.12.2019                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
 788      Text messages between J.Y. and M.T. on 06.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 789      Text messages between M.T. and K.T. on 06.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 790      Text messages between M.T. and K.T. on 06.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 791      INTENTIONALLY LEFT BLANK
 792      Text messages between M.T. and K.T. on 06.24.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 793      Text messages between M.T. and K.T. on 06.25.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 794      Text messages between M.T. and K.T. on 06.26.2019 and 06.27.2019                                                                                                                SW_FIL_00342321-SW_FIL_00342322
 795      Text messages between J.Y. and M.T. on 06.26.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 796      Text messages between J.Y. and M.T. on 06.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 797      Text messages between M.T. and K.T. on 06.28.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 798      Text messages between M.T. and K.T. on 06.29.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 799      Email re "RE: Please assist" on 07.11.2019                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 800      Text messages between M.T. and K.T. on 07.02.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
          Emails re "Invoice From [PM], Inc." on 07.03.2019 ([PM] Invoice #7201 for $40,000; Invoice #7263 for $10,100; Invoice #7312 for $9,500; & Invoice
 801      #7322 for $30,000)                                                                                                                                                              NAC_E_00204515-NAC_E_00204516
 802      Text messages between M.T. and K.T. on 07.04.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 803      INTENTIONALLY LEFT BLANK
 804      Text messages between M.T. and K.T. on 07.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 805      Text messages between M.T. and K.T. on 07.07.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 806      Text messages between J.Y. and M.T. on 07.08.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 807      Emails re "Re: Please assist" on 07.08.2019                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 808      Emails re "Re: Please assist" on 07.09.2019                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 809      Text messages between M.T. and K.T. on 07.09.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 810      Text messages between M.T. and K.T. on 07.11.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 811      Text messages between M.T. and K.T. on 07.17.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 812      Text messages between M.T. and K.T. on 07.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 813      Text messages between J.Y. and M.T. on 07.19.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 814      Text messages between J.Y. and M.T. on 07.22.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 815      Text messages between M.T. and K.T. on 07.29.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 816      Text messages between J.Y. and M.T. on 07.30.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 817      Text messages between J.Y. and M.T. on 08.01.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 818      Text messages between J.Y. and M.T. on 08.03.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 819      Text messages between M.T. and K.T. on 08.04.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 820      Text messages between J.Y. and M.T. on 08.05.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 821      Text messages between M.T. and K.T. on 08.05.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 822      Text messages between M.T. and K.T. on 08.06.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 823      Text messages between J.Y. and M.T. on 08.06.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 824      Text messages between M.T. and K.T. on 08.11.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 825      Text messages between M.T. and K.T. on 08.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 826      Text messages between J.Y. and M.T. on 08.13.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 827      Text messages between J.Y. and M.T. on 08.14.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 828      Text messages between J.Y. and M.T. on 08.15.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 829      Text messages between M.T. and K.T. on 08.18.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 830      Text messages between J.Y. and M.T. on 08.19.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 831      Text messages between J.Y. and M.T. on 08.20.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322
 832      Text messages between J.Y. and M.T. on 08.21.2019                                                                                                                               SW_FIL_00342321-SW_FIL_00342322

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Exhibit                                                                     Brief Description                                                                     BEG Bates #   END Bates #                902 Declaration
 833      Text messages between J.Y. and M.T. on 08.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 834      Text messages between M.T. and K.T. on 08.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 835      Text messages between M.T. and K.T. on 08.23.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 836      Text messages between M.T. and K.T. on 08.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 837      Text messages between J.Y. and M.T. on 08.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 838      Text messages between M.T. and K.T. on 08.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 839      Text messages between M.T. and K.T. on 08.27.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 840      Text messages between M.T. and K.T. on 08.28.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Global Fuel Logistics, Inc" on 08.28.2019 (Global Fuel Logistics Invoice #987 for #9,500; Invoice #972 for $94,500; & Invoice
 841      #763 for $152,000)                                                                                                                                                                  NAC_E_00204515-NAC_E_00204516
 842      Text messages between M.T. and K.T. on 08.29.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 843      Emails re "RE: 8/29 Wires" on 08.29.2019                                                                                                                                            NAC_E_00204515-NAC_E_00204516
 844      Email re "Global Fuel - Updated Invoice" on 08.29.2019 (Global Fuel Logistics Invoice #1001 for $55,000)                                                                            NAC_E_00204515-NAC_E_00204516
          Email re "Invoices from Global Fuel Logistics, Inc" on 08.29.2019 (Global Fuel Logistics Invoice #1023 for $45,000; Invoice #1011 for $45,000; &
 845      Invoice #1001 for $56,000)                                                                                                                                                          NAC_E_00204515-NAC_E_00204516
 846      Text messages between M.T. and K.T. on 08.30.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 847      INTENTIONALLY LEFT BLANK
 848      Text messages between M.T. and K.T. on 09.06.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 849      Text messages between M.T. and K.T. on 09.07.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 850      Text messages between M.T. and K.T. on 09.08.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 851      Text messages between J.Y. and M.T. on 09.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 852      Text messages between M.T. and K.T. on 09.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 853      Text messages between M.T. and K.T. on 09.10.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 854      Text messages between M.T. and K.T. on 09.13.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 855      Text messages between M.T. and K.T. on 09.14.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 856      Text messages between J.Y. and M.T. on 09.16.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 857      Text messages between J.Y. and M.T. on 09.17.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 858      Text messages between J.Y. and M.T. on 09.18.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 859      Text messages between M.T. and K.T. on 09.18.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 860      Text messages between M.T. and K.T. on 09.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 861      Text messages between M.T. and K.T. on 09.23.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 862      Text messages between J.Y. and M.T. on 09.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 863      Text messages between J.Y. and M.T. on 09.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 864      Text messages between M.T. and K.T. on 09.26.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 865      Text messages between J.Y. and M.T. on 09.27.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 866      Text messages between M.T. and K.T. on 09.28.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 867      Text messages between M.T. and K.T. on 09.30.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 868      INTENTIONALLY LEFT BLANK
 869      Text messages between M.T. and K.T. on 10.02.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 870      INTENTIONALLY LEFT BLANK
 871      Text messages between M.T. and K.T. on 10.05.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 872      Text messages between M.T. and K.T. on 10.07.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 873      Text messages between M.T. and K.T. on 10.08.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 874      Text messages between M.T. and K.T. on 10.09.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 10.11.2019 (Aero Maintenance Resources Invoice #697 for $112,750; Invoice #634 for $75,000;
 875      & Invoice #627 for $141,450)                                                                                                                                                        NAC_E_00204515-NAC_E_00204516
 876      Text messages between M.T. and K.T. on 10.11.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 877      Text messages between M.T. and K.T. on 10.15.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 878      INTENTIONALLY LEFT BLANK
 879      Text messages between M.T. and K.T. on 10.19.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 880      Text messages between M.T. and K.T. on 10.20.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 881      Text messages between M.T. and K.T. on 10.21.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 882      Text messages between M.T. and K.T. on 10.22.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 883      Text messages between M.T. and K.T. on 10.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 884      Text messages between M.T. and K.T. on 10.25.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 885      Text messages between M.T. and K.T. on 10.31.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 886      Text messages between M.T. and K.T. on 11.01.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 11.11.2019 (Aero Maintenance Resources Invoice #1017 for $110,000; Invoice #1021 for
 887      $100,000; & Invoice #1103 for $66,750)                                                                                                                                              NAC_E_00204515-NAC_E_00204516
 888      Text messages between M.T. and K.T. on 11.13.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 889      Text messages between M.T. and K.T. on 11.14.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322
 890      Text messages between M.T. and K.T. on 11.19.2019                                                                                                                                   SW_FIL_00342321-SW_FIL_00342322

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Exhibit                                                                   Brief Description                                                              BEG Bates #   END Bates #                902 Declaration
 891      Text messages between M.T. and K.T. on 11.20.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 892      Text messages between M.T. and K.T. on 11.21.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 893      Text messages between M.T. and K.T. on 11.22.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 894      Text messages between M.T. and K.T. on 11.25.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 895      Text messages between M.T. and K.T. on 12.01.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 896      Text messages between M.T. and K.T. on 12.02.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 897      Text messages between M.T. and K.T. on 12.03.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 898      Text messages between M.T. and K.T. on 12.04.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 899      Text messages between M.T. and K.T. on 12.06.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 900      INTENTIONALLY LEFT BLANK
 901      Text messages between M.T. and K.T. on 12.11.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 902      Text messages between M.T. and K.T. on 12.13.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 12.17.2019 (Aero Maintenance Resources Invoice #2110 for $49,750; Invoice #2325 for
 903      $83,400; & Invoice #2392 for $85,250)                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 904      Text messages between M.T. and K.T. on 12.20.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 905      Text messages between M.T. and K.T. on 12.21.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 906      Text messages between M.T. and K.T. on 12.30.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 907      Text messages between M.T. and K.T. on 12.31.2019                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 908      Text messages between M.T. and K.T. on 01.03.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 909      Text messages between M.T. and K.T. on 01.07.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 910      Text messages between M.T. and K.T. on 01.08.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 911      Text messages between M.T. and K.T. on 01.09.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 01.09.2020 (Aero Maintenance Resources Invoice #2515 for $79,950; Invoice #2479 for
 912      $87,200; & Invoice #2601 for $148,200)                                                                                                                                     NAC_E_00204515-NAC_E_00204516
 913      Text messages between M.T. and K.T. on 01.10.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 914      Text messages between M.T. and K.T. on 01.11.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 915      Text messages between M.T. and K.T. on 01.13.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 916      Text messages between M.T. and K.T. on 01.16.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 917      Text messages between M.T. and K.T. on 01.17.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 918      Text messages between M.T. and K.T. on 01.22.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 919      Text messages between M.T. and K.T. on 01.26.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 920      Text messages between M.T. and K.T. on 01.28.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 921      Text messages between M.T. and K.T. on 01.29.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 922      Text messages between M.T. and K.T. on 01.31.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 923      Text messages between M.T. and K.T. on 02.01.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 924      Text messages between M.T. and K.T. on 02.05.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 925      Text messages between M.T. and K.T. on 02.12.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 926      Text messages between M.T. and K.T. on 02.13.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 927      Text messages between M.T. and K.T. on 02.15.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 02.18.2020 (Aero Maintenance Resources Invoice #2807 for $15,689; & Invoice #2753 for
 928      $99,211)                                                                                                                                                                   NAC_E_00204515-NAC_E_00204516
 929      Text messages between M.T. and K.T. on 02.25.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 930      Text messages between M.T. and K.T. on 02.26.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 931      Text messages between M.T. and K.T. on 03.03.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 932      Text messages between M.T. and K.T. on 03.06.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
          Email re "Invoices from Aero Maintenance Resources" on 03.09.2020 (Aero Maintenance Resources Invoice #3004 for $95,000; Invoice #2987 for
 933      $33,520; & Invoice #2901 for $90,180)                                                                                                                                      NAC_E_00204515-NAC_E_00204516
 934      Text messages between M.T. and K.T. on 03.10.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 935      Email re "Aero Maintenance Invoices for February 2020" on 03.11.2020 (Aero Maintenance Resources Invoice #2990 for $73,000)                                                NAC_E_00204515-NAC_E_00204516
 936      Text messages between M.T. and K.T. on 03.11.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 937      Text messages between M.T. and K.T. on 03.17.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 938      Text messages between M.T. and K.T. on 03.18.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 939      Email re NO SUBJECT on 03.19.2020                                                                                                                                          NAC_E_00204515-NAC_E_00204516
 940      Text messages between M.T. and K.T. on 03.20.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 941      Text messages between M.T. and K.T. on 03.22.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 942      Text messages between M.T. and K.T. on 03.23.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 943      Text messages between M.T. and K.T. on 03.28.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 944      Text messages between M.T. and K.T. on 03.30.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 945      Text messages between M.T. and K.T. on 04.01.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 946      Text messages between M.T. and K.T. on 04.02.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 947      Text messages between M.T. and K.T. on 04.05.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322
 948      Text messages between M.T. and K.T. on 04.06.2020                                                                                                                          SW_FIL_00342321-SW_FIL_00342322

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 Exhibit                                                                       Brief Description                                                                       BEG Bates #       END Bates #                902 Declaration
   949        Text messages between M.T. and K.T. on 04.08.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for Aero Maintenance Resources" on 04.14.2020 (Aero Maintenance Resources Invoice #4001 for $87,045; & Invoice #3176 for
   950        $127,155)                                                                                                                                                                                NAC_E_00204515-NAC_E_00204516
   951        Text messages between M.T. and K.T. on 04.14.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Aero Maintenance Invoices for April 2020" on 04.16.2020 (Aero Maintenance Resources Invoice #5120 for $105,603; & Invoice #4784 for
   952        $114,685)                                                                                                                                                                                NAC_E_00204515-NAC_E_00204516
   953        Email re "Invoice for Global Fuel Logistics, Inc." on 04.27.2020 (Global Fuel Logistics Invoice #7988 for $124,785)                                                                      NAC_E_00204515-NAC_E_00204516
   954        Email re "Invoice for Aero Maintenance Resources 2 March 2020" on 05.04.2020 (Aero Maintenance Resources Invoice #3101 for $61,255)                                                      NAC_E_00204515-NAC_E_00204516
   955        Email re "Invoice for Global Fuel Logistics, Inc." on 05.11.2020 (Global Fuel Logistics Invoice #8011 for $83,090)                                                                       NAC_E_00204515-NAC_E_00204516
   956        Text messages between M.T. and K.T. on 05.12.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   957        Text messages between M.T. and K.T. on 05.23.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   958        Text messages between M.T. and K.T. on 05.28.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for May 2020" on 06.03.2020 (Aero Maintenance Resources Invoice #8888 for $153,725; Global Fuel Logistics Invoice #9014 for
   959        $159,882; & Global Fuel Logistics Invoice #9071 for $164,065)                                                                                                                            NAC_E_00204515-NAC_E_00204516
   960        Text messages between M.T. and K.T. on 06.07.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   961        Text messages between M.T. and K.T. on 06.09.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   962        Text messages between M.T. and K.T. on 06.10.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   963        Text messages between M.T. and K.T. on 06.11.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   964        Text messages between M.T. and K.T. on 06.16.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   965        Text messages between M.T. and K.T. on 06.17.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   966        Text messages between M.T. and K.T. on 06.24.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   967        Text messages between M.T. and K.T. on 06.25.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   968        Text messages between M.T. and K.T. on 06.26.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
              Email re "Invoices for June 2020" on 06.30.2020 (Global Fuel Logistics Invoice #10101 for $170,274.50; Aero Maintenance Resources Invoice #9302 for
   969        $194,803; & Global Fuel Logistics Invoice #11812 for $127,264)                                                                                                                           NAC_E_00204515-NAC_E_00204516
   970        Text messages between M.T. and K.T. on 06.29.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   971        Text messages between M.T. and K.T. on 07.01.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   972        Text messages between J.Y. and K.T. on 07.01.2020                                                                                                                                        SW_FIL_00342321-SW_FIL_00342322
   973        Email re "Invoice for July 1 2020" on 07.02.2020 (Global Fuel Logistics Invoice #10226 for $95,000)                                                                                      NAC_E_00204515-NAC_E_00204516
   974        Audio recording of consensual phone call between J.Y. and M.T. on 07.07.2020                                                                          INV_00005038
   975        Audio recording of consensual phone call between J.Y. and M.T. on 07.08.2020                                                                          INV_00005040
                                                                                                                                                                    INV_00005141;     INV_00005142;
                                                                                                                                                                    INV_00005182;     INV_00005182;
   976        Text messages between J.Y. and M.T. on 07.08.2020                                                                                                     INV_00005185      INV_00005191
   977        INTENTIONALLY LEFT BLANK
   978        Email re Kimberley Tew $10,000 Invoice, dated 12.31.2018                                                                                              NAC_E_00060469    NAC_E_00060470   NAC_E_00204515-NAC_E_00204516
   979        Email re ACH Payment Questions, dated 04.17.2019                                                                                                      NAC_E_00100476                     NAC_E_00204515-NAC_E_00204516
   980        Email re Lululemon Order Confirmation to Amy Tew, dated 11.04.2018                                                                                    SW_FIL_00003054                    SW_FIL_00011402-SW_FIL_00011407
   981        Email re Lilky Pulitzer Shipping Confirmation to Amy Tew, dated 10.18.2018                                                                            SW_FIL_00006094                    SW_FIL_00011402-SW_FIL_00011408
   982        Email re Lilky Pulitzer Order Confirmation to Amy Tew, dated 10.17.2018                                                                               SW_FIL_00006901                    SW_FIL_00011402-SW_FIL_00011409
   983        Email re Saks Fifth Avenue Order Confirmation to Amy Tew, dated 10.18.2018                                                                            SW_FIL_00008364                    SW_FIL_00011402-SW_FIL_00011410
   984        Email re Zappos Order Confirmation to Amy Tew, dated 11.03.2018                                                                                       SW_FIL_00009825                    SW_FIL_00011402-SW_FIL_00011411
   985        Email re Kimberley Tew Introduction & Contact Information, dated 01.30.2018                                                                           NAC_E_00058418                     NAC_E_00204515-NAC_E_00204516
   986        Invoice #001 re Kimberley Tew for $10,000.00, dated 02.08.2018                                                                                        NAC_00000731                       NAC_00000978-NAC_00000979
   987        Transcript of consensual phone call between J.Y. and M.T. on 07.07.2020                                                                               INV_00008612      INV_00008768
   988        Transcript of consensual phone call between J.Y. and M.T. on 07.08.2020                                                                               INV_00008506      INV_00008539

                                                                                                                                                                    SW_FIL_00327501; SW_FIL_00327505;
   989        Text messages between M.T. and K.T. on 08.28.2019                                                                                                     SW_FIL_00373676 SW_FIL_00373617 SW_FIL_00342321-SW_FIL_00342322
                                                                                                                                                                    SW_FIL_00327625;
    990       Text messages between M.T. and K.T. on 09.18.2019                                                                                                     SW_FIL_00374972 SW_FIL_00327628 SW_FIL_00342321-SW_FIL_00342322
 991 - 999    INTENTIONALLY LEFT BLANK
   1000       INTENTIONALLY LEFT BLANK
   1001       Account Owners and Signors for Relevant Bank Accounts
   1002       Payments of Fraudulent Invoices by NAC between August 2018 and July 2020
   1003       Deposits of Fraudulent Invoices by NAC between August 2018 and July 2020
   1004       Summary of [HS CPA], [MCG], and [5530 JD] Invoices and Payments
   1005       Summary of [PM] Invoices and Payments
   1006       Summary of Global Fuel Logistics Invoices and Payments
   1007       Summary of Aero Maintenance Resources Invoices and Payments
1008 - 1099   INTENTIONALLY LEFT BLANK

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Exhibit                                                                     Brief Description      BEG Bates #       END Bates #    902 Declaration
 1100     Certificate of Authenticity for Atlantic Union Bank                                   ACNB_00000101
 1101     Certificate of Authenticity for ANB Bank                                              ANB_00000002
 1102     Certificate of Authenticity for ANB Bank                                              ANB_00000035
 1103     Certificate of Authenticity for BBVA                                                  BBVA_00000002
 1104     Certificate of Authenticity for BBVA                                                  BBVA_00000280
 1105     Certificate of Authenticity for Guaranty Bank and Trust Company                       GUAR_00000001
 1106     Certificate of Authenticity for Kraken                                                KRKN_00000001
 1107     Certificate of Authenticity for Navy Federal Credit Union                             NAVY_00000002     NAVY_00000003
 1108     Certificate of Authenticity for GoDaddy                                               ORD_00019742
 1109     Certificate of Authenticity for Google                                                ORD_00017711
 1110     Certificate of Authenticity for Verizon                                               ORD_00019935
 1111     Certificate of Authenticity for Regions Bank                                          REG_00000001
 1112     Certificate of Authenticity for Simple Finance Technology Corp                        SFT_00000001
 1113     Certificate of Authenticity for Signature Bank                                        SIG_00006978
 1114     Certificate of Authenticity for Google                                                SW_FIL_00000094   SW_FIL_00000099
 1115     Certificate of Authenticity for Apple                                                 SW_FIL_00342321   SW_FIL_00342322
 1116     Certificate of Authenticity for Google                                                SW_FIL_00011402   SW_FIL_00011407
 1117     Certificate of Authenticity for Google                                                SW_FIL_00011557   SW_FIL_00011561
 1118     Certificate of Authenticity for Vcorp                                                 VCORP_00000001
 1119     Certificate of Authenticity for Wells Fargo Bank                                      WFB_00000144      WFB_00000146
 1120     Certificate of Authenticity for Wells Fargo Bank                                      WFB_00001054      WFB_00001058
 1121     Certificate of Authenticity for Wynn Las Vegas                                        WYNN_00000002
 1122     Certificate of Authenticity for Google                                                ORD_00019955      ORD_00019961
 1123     Certificate of Authenticity for Google                                                ORD_00019962      ORD_00019976
 1124     Certificate of Authenticity for Google                                                ORD_00019977      ORD_00019991
 1125     Certificate of Authenticity for Google                                                ORD_00019992      ORD_00019996
 1126     Certificate of Authenticity for Google                                                ORD_00019997      ORD_00020002
 1127     Certificate of Authenticity for AT&T                                                  ORD_00020003      ORD_00020004
 1128     Certificate of Authenticity for Navy Federal Credit Union                             NAVY_00002211     NAVY_00002212
 1129     Certificate of Authenticity for American Express                                      AMEX_00000001
 1130     Certificate of Authenticity for National Air Cargo                                    NAC_E_00204515    NAC_E_00204516
 1131     Certificate of Authenticity for McDonald Automotive (Audi)                            AUDI_00000042
 1132     Certificate of Authenticity for Digital Mint                                          DGMT_00000001
 1133     Certificate of Authenticity for Digital Mint                                          DGMT_00000814
 1134     Certification of Authenticity for National Air Cargo                                  NAC_00000978      NAC_00000979
 1135     Certification of Authenticity for Access National Bank                                ACNB_00000001
 1136     Certification of Authenticity for Coinbase                                            COIN_00000076
 1137     Certification of Authenticity for Coinbase                                            COIN_00000077
 1138     Certification of Authenticity for Coinbase                                            COIN_00000078
 1139     Certification of Authenticity for Navy FCU                                            NAVY_00002217
 1140     Certification of Authenticity for Apple                                               ORD_00015053      ORD_00015054
 1141     Certification for Google                                                              GPAY_00000097     GPAY_00000106




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